                       Case Court
El Paso County - 384th District 3:23-cv-00287-KC        EXHIBIT
                                                    Document 1-3 Filed 08/04/23 Page 1Filed
                                                                                        of 27
                                                                                            6/14/2023 7:26 PM
                                                                                                      Norma Favela Barceleau
                                                                 3                                               District Clerk
                                                                                                              El Paso County
                                                                                                              2023DCV1932
                                         IN THE ___________________COURT
                                             EL PASO COUNTY TEXAS

                                                             §
              DORIS DAVIS,                                   §
                                                             §
                         Plaintiff,                          §
                                                             §
              v.                                             §
                                                             §         CAUSE NO. __________________
              EL PASO COUNTY, EL PASO MHMR                   §
              d/b/a EMERGENCE HEALTH                         §
              NETWORK;                                       §         JURY TRIAL DEMANDED
                                                             §
                         Defendants.                         §
                                                             §
                                                             §

                                         PLAINTIFF’S ORIGINAL PETITION

                        COMES NOW, DORIS DAVIS, (herein, “Plaintiff”), in the above-styled and numbered

              cause, and files her Original Petition complaining of Defendant EL PASO COUNTY (herein

              “Defendant” and/or “EPCounty”), EL PASO MHMR D/B/A EMERGENCE HEALTH

              NETWORK (herein “MHMR” and/or “EHN” and/or “Defendant”). Plaintiff and Defendants

              herein will be referred to as the “Parties.” Plaintiff for cause shows the Court the following:

                             A. NATURE OF ACTION & DISCOVERY CONTROL PLAN

                    1. This action is brought to remedy discrimination, retaliation, and termination against

             PLAINTIFF by DEFENDANTS during the course of Plaintiff’s employment with DEFENDANT

             EL PASO COUNTY, TEXAS via EL PASO MHMR d/b/a EMERGENCE HEALTH NETWORK

             (herein “MHMR” and/or “EHN”). Plaintiff’s discrimination claims are raised on the basis of SEX

             (GENDER/FEMALE), AGE (over the age of 40), ASSOCIATIONAL DISABILITY

             Discrimination, FMLA RETALIATION AND RETALIATION in the terms, conditions, and

             privileges of PLAINTIFF’S employment escalating to Plaintiff’s termination as retaliation for




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             opposing such discrimination, which is illegal per the Texas Commission on Human Rights Act

             of 1983 (TCHRA), as amended, TEX. LAB. CODE ANN. § 21.001, et seq., which Act’s purpose is

             to secure to those within the state freedom from discrimination and retaliation in employment.

                    2. Plaintiff DORIS DAVIS is a resident of El Paso County, Texas, and a prior employee

             of EL PASO COUNTY, specifically the EL PASO COUNTY MHMR DEPARTMENT d/b/a

             EMERGENCE HEALTH NETWORK.

                    3. Plaintiff wishes to conduct discovery under Level 2, provided in Rule 190.3 of the

             Texas Rules of Civil Procedure.

                                                        B. PARTIES
                    4. Plaintiff DORIS DAVIS (herein “PLAINTIFF” and/or “MS. DAVIS”) is a resident of

             El Paso County, Texas, and a prior employee of Defendant EL PASO COUNTY, specifically the

             EL PASO COUNTY MHMR DEPARTMENT d/b/a EMERGENCE HEALTH NETWORK.

                    5. MS. DAVIS was employed by Defendant, EL PASO COUNTY, specifically, EL

             PASO COUNTY’S MHMR DEPARTMENT d/b/a EMERGENCE HEALTH NETWORK. Ms.

             DAVIS is a Hispanic female, over the age forty (40), with a dependent with a severe disability (her

             son suffered from a terminal brain tumor during the course of her employment) which required

             Ms. Davis to take and utilize leave pursuant to the Family Medical Leave Act (herein “FMLA”)

             in order to care for her son during his terminal illness.

                    6. Plaintiff was discriminated against by Defendants during the course of her employment

             with MHMR. Plaintiff opposed such discrimination. Upon such opposition, Defendants unlawfully

             retaliated against Plaintiff ultimately terminating Plaintiff from her employment in contradiction

             to the protections afforded to employees by Texas Commission on Human Rights Act of 1983

             (TCHRA), as amended, TEX. LAB. CODE ANN. § 21.001, et seq.




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                    7. PLAINTIFF timely filed her Charge of Discrimination & Retaliation with the Equal

             Employment Opportunity Commission (herein, “EEOC”) and the same was investigated by the

             agency.

                    8. Defendant, COUNTY OF EL PASO, is a political subdivision of the State of Texas

             and may be served with citation by serving the County Judge, MR. RICARDO A.

             SAMANIEGO, and he may be served at 500 E. SAN ANTONIO, SUITE 301, EL PASO,

             TEXAS 79901, or wherever he may be found.

                    9. Defendant, EL PASO COUNTY MHMR d/b/a EMERGENCE HEALTH

             NETWORK, is a department of the COUNTY OF EL PASO, and thus may be served at its

             administrative offices located at 201 E. Main Suite 600, El Paso, Texas 79901.

                    10. Pursuant to Texas Rule of Civil Procedure 28, Defendants are being sued herein under

             their known and publicly identified assumed names, including each entities’ common name for

             purposes of enforcing Plaintiff’s substantive rights, and all such assumed and/or common names

             utilized by Defendants, disclosed and undisclosed, are incorporated by reference herein and serve

             as identifiers for DEFENDANT COUNTY OF EL PASO AND EL PASO MHMR d/b/a

             EMERGENCE HEALTH NETWORK for purposes of this lawsuit.

                                                   C. JURISDICTION

                    11. This Court has jurisdiction of the Parties and the subject matter of this lawsuit.

                    12. Jurisdiction is invoked to seek a redress of violations of the Texas Commission on

             Human Rights Act of 1983 (TCHRA), as amended, TEX. LAB. CODE ANN. § 21.001, et seq., the

             American with Disabilities Act of 1990, codified as 42 U.S.C. § 12101, as amended (herein the

             ”ADA”), and 29 C.F.R. Part 825 (§825.100) the Family and Medical Leave Act of 1993, as

             amended, herein “FMLA.”




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                       13.     Ms. DAVIS was subjected to unlawful employment practices committed in the

             State of Texas, El Paso County.

                       14.     Venue is proper in El Paso County, Texas, by reason of the provisions of

             Section 15.002(a) (l), Texas Civil Practice and Remedies Code, since all events forming the

             basis of this suit occurred in this county.

                       15. Further, Ms. DAVIS is a resident of the United States and, during all times material

             hereto, during the course of the events of this action, was a resident of El Paso County, Texas.

                       16. Defendants employed Ms. DAVIS at the MHMR D/B/A EMERGENCE HEALTH

             NETWORK offices, which are a part of EL PASO COUNTY government, in its offices in El Paso,

             Texas, where Defendants collectively maintain a place of business.

                       17. Ms. DAVIS is an “employee” within the meaning of the Texas Commission on Human

             Rights Act of 1983, TEX. LAB. CODE ANN. § 21.002(8).

                       18. Defendants are an entity that do business and have done business in El Paso County,

             Texas, and are considered “employers” within the meaning of the Texas Commission on Human

             Rights Act of 1983, TEX. LAB. CODE ANN. § 21.002(7).

                       19. Specifically, Defendants EL PASO COUNTY AND EL PASO MHMR d/b/a

             EMERGENCE HEALTH NETWORK are (d) (4) employers within TEX. LAB. CODE ANN. §

             21.2585 of the Act, and in any event is at least category a (d) (1) employer within said section.

                       20. This is a proceeding for compensatory relief, as well as all other relief applicable to

             secure the rights of Plaintiff under TEX. LAB. CODE ANN. § 21.001, et seq. and under common law

             claims.

                                                        D. FACTS
                       21. Ms. DAVIS is a female over forty (40) years of age of Mexican/Hispanic descent with

             a dependent son with a terminal illness. Ms. DAVIS was employed by Defendants EL PASO




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             COUNTY via Defendant EL PASO COUNTY MHMR d/b/a Emergence Health Network as a

             Training Manager for EHN from on or about April 22, 2021, until Plaintiff was unlawfully

             terminated by Defendants from her employment on or about April 8, 2022, via constructive

             discharge.

                    22. During PLAINTIFF’S tenure with EHN, PLAINTIFF excelled and exceeded

             standards in terms of her job performance. Plaintiff was never written up or disciplined

             during this employment.

                    23. On or about September 23, 2021, PLAINTIFF attended an office meeting where

             EHN CEO (Daugherty) addressed various employees, including PLAINTIFF. All upper

             division management was in attendance, including the Chief of Development, Rene

             Hurtado. During that meeting the CEO expressed herself in a terribly angry and aggressive

             manner, therein yelling at employees in an unprofessional, belittling, and degrading

             manner.

                    24. The CEO accused Plaintiff’s department of being "horrible" and "the worst

             division" in the agency, therein stating that all the previous Human Resources (herein

             “HR”) departments were equally as bad as the current HR. The CEO then pointed out

             GEORGINA HERNANDEZ (who has also filed a discrimination and retaliation lawsuit

             against Defendants) and stated she came from the “prior bad HR,” and she hoped to “get

             rid of those people.”

                    25. The CEO then pointed at Vanessa Garcia and April Martinez stating they too

             were in the “bad HR.”

                    26. Every individual the CEO defamed and pointed out as “horrible,” and

             humiliated in this process, is a Mexican American/Hispanic female.




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                    27. The CEO is Caucasian.

                    28. The CEO proceeded to then tell the room of employees that the HR Department needed

             “a Limpia to remove all the bad juju.” The CEO stated since the office was being remodeled a

             “limpia” would help. She stated the carpets needed to be shampooed and the office cleaned, but a

             “limpia” was necessary. This comment was seen as highly offensive and discriminatory to the

             individuals in the room (majority Hispanic women) when the commentary came from a Caucasian

             CEO.

                    29. The commentary itself in Mexican culture has a negative connotation. A “limpia” is

             defined as a cleansing of bad spirits or negative energy. When the Caucasian CEO proceeded to

             direct that comment to a group of Hispanics, she indicated racially that group of Hispanic

             employees was allegedly contributing to the bad spirit of the organization and produced negative

             energy that needed to be wiped and cleaned from the organization.

                    30. After making this discriminatory commentary, the CEO then stated if any employee

             was not on board, they could look somewhere else for a job.

                    31. PLAINTIFF was offended and brought formal complaints of discrimination and

             harassment to GEORGINA HERNANDEZ’S attention (the HR Director at the time).

                    32. After opposing this discrimination in the workplace, and contemporaneous to Plaintiff’s

             notification to the CEO and upper management of her dependent son’s terminal illness and her need

             for FMLA leave regarding the same, Plaintiff was informed the NEO position she held and was

             performing at the time would be given to a new hire, Luis Chavarria.

                    33. Luis Chavarria is a male under the age of forty (40) with six (6) years of experience in the

             field by comparison to Plaintiff’s twenty (20+) years of experience, who had been the organization




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             for less than month when Plaintiff was informed, Chavarria would be taking over her position with

             the Agency.

                     34. Upon his hire, Chavarria and the CEO held private meetings repeatedly; something the

             CEO did not do with other employees.

                     35. In and around November 2021, Rene Hurtado informed Plaintiff she was to stop building

             all NEO items because her job duties were being transferred, per the CEO’s directive, to Chavarria.

                     36. When Chavarria failed to complete the job duties and tasks Plaintiff previously performed

             which were transferred to him, in and around early December 2021, Plaintiff was told to subsume her

             duties until Chavarria was capable of performing her job duties and related tasks. She did so.

                     37. On or about December 16, 2021, Plaintiff was informed by Chavarria that he

             would be replacing Plaintiff in her position entirely.

                     38. Plaintiff was then instructed to report to Chavarria as his subordinate. Plaintiff

             was tasked with training Chavarria in the process of replacing Plaintiff in her position of

             employment.

                     39. Plaintiff was aware of constant communication between the CEO and Chavarria

             regarding Plaintiff’s imminent termination, and Chavarria's subsuming of Plaintiff’s duties

             and position upon Plaintiff’s termination.

                     40. On or about January 4, 2022, Rene Hurtado and the CEO were walking through

             the HR offices discussing the post construction set up following the remodel of the office space.

                     41. Both individuals walked in front of Plaintiff’s office and the CEO asked Hurtado who was

             going to be in that office, (pointing to Plaintiff’s office).




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                     42. Plaintiff was in her office at the time, and it was known by both the CEO and Hurtado

             she was in the office. Hurtado then whispered to the CEO "that's Doris's office." The CEO then stated,

             "Well you need to get rid of her and you'll have the last two offices available to work with."

                     43. On or about February 3, 2022, Luis Chavarria stated that he had several meetings with the

             CEO, and he was told he was formally taking over Plaintiff’s NEO position and her job duties related

             to internal trainings.

                     44. Plaintiff was informed at that time she was to be Chavarria’s subordinate, report

             directly to him, Chavarria was to be her superior in the organization, and Plaintiff was expected to

             support all of his efforts. Plaintiff was further told to abandon her other job duties to present

             herself at all NEO courses taught by Chavarria for purposes of watching him train.

                     45. Plaintiff was still responsible for managing the Relias system and collaborating on audits.

             When she informed Chavarria of these other responsibilities, he would quickly and visibly anger, yell at

             Plaintiff, berate her, and harass her publicly until she agreed to watch him train in the position Plaintiff

             previously held with the organization.

                     46. Soon thereafter, Plaintiff’s subordinate report, Jessica Gurrola, was removed from her

             supervision and moved to Chavarria’s supervision.

                     47. Plaintiff was then informed formally by Rene Hurtado that she was being demoted, stripped

             of her title, and all NEO and internal training duties were removed from her responsibilities and given

             to Chavarria who would subsume Plaintiff’s title, pay, responsibilities and subordinate reports.

                     48. Chavarria at the time only had six (6) years of training experience by comparison to

             Plaintiff’s twenty (20+) years of training experience. Chavarria had been with the organization less

             than a year at this time.




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                     49. Chavarria was not aware of the training standards, rules, regulations of the agency and

             had not represented the agency during audits, in contrast to Plaintiff, when he took over her position.

                     50. Additionally, he did not hold certification for the position, like Plaintiff.

                     51. Plaintiff’s demotion and removal of her duties and title and pay occurred after Plaintiff

             outcried Defendants’ discrimination and while Plaintiff was struggling to care for her terminally ill

             son battling a brain tumor. The CEO did not permit Plaintiff to take FMLA leave she had become

             eligible for during the course of her employment, in order to take her son to his infusions and doctor

             appointments.

                     52. Plaintiff outcried the refusal by the organization to allow her to take FMLA leave to care

             for her terminally ill son; the organization did nothing to correct the situation.

                     53. On or about February 28, 2022, Plaintiff outcried to then Chief of HR, Iris Sandoval that

             Plaintiff felt she was being subjected to discrimination and retaliation due to Plaintiff’s age, race,

             associational disability related to her terminally ill son, and need for related FMLA leave to care for

             her son.

                     54. Nothing was done in this regard on the part of Sandoval or the Agency. The Agency did

             not investigate in this regard, did not interview anyone in this regard, and did not correct or cease the

             discrimination and retaliation against PLAINTIFF.

                     55. On or about March 8, 2022, Sandoval removed Plaintiff physically from her office and

             gave the office to another employee under the age of forty (40) who had been there for

             approximately a week and already shared a physical office with another HR employee (therein did

             not need another physical office space).




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                     56. On or about March 21, 2022, Plaintiff was once again present while the CEO informed

             Sandoval that Plaintiff should be “thrown to the floor” and removed from any office space. The CEO then

             stated loudly, for Plaintiff to hear, “you can get rid of her if you want.”

                     57. On or about March 30, 2022, Plaintiff’s workspace including her computer, screens,

             telephone, etc. were removed from her office without her being present, and PLAINTIFF’S things were

             deposited in a communal area.

                     58. Plaintiff once again requested this retaliation and harassment cease, and requested she be

             allowed FMLA leave to be able to care for her terminally ill son. Defendants refused to cease the

             retaliation, discrimination, and harassment against Plaintiff; continued to discriminate against Plaintiff and

             further making Plaintiff’s ability to perform her job duties impossible; continued to strip and remove such

             job duties so Plaintiff was left with very few duties related to her original employment position, and

             therein refused to allow Plaintiff to take FMLA leave to care for her terminally ill son.

                     59. At this point, Defendants’ behavior created health issues related to stress, anxiety, and

             desperation with Plaintiff stemming from the abuse, discrimination, and retaliation she was being

             subjected to by Defendants. In order to preserve her own health and attend to her terminally ill son,

             DEFENDANTS gave PLAINTIFF no choice but to resign her employment position, therein

             constructively discharging PLAINTIFF from her employment with DEFENDANTS.

                     60. Plaintiff was discriminated against on account of her sex (gender/female), her age (over the

             age of forty), her associational disability related to her dependent son with a terminal illness, her need for

             FMLA LEAVE to care for her terminally ill son, and her opposition to the aforesaid discrimination which

             resulted in retaliation by Defendants culminating in Plaintiff’s constructive discharge, all of which are in

             violation of Title VII of the Civil Rights Act of 1964, as amended, the Texas Labor Code, Ch. 21.051

             and 21.055 (formerly the Texas Commission on Human Rights Act), as amended, and the ADA,




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             Rehabilitation Act, 29 C.F.R. Part 1630 which precludes employers from imposing associational disability

             discrimination on employees with dependents suffering from illness and disabilities, and 29 C.F.R.

             Part 825 (§825.100) the Family and Medical Leave Act of 1993, as amended, herein “FMLA.”

                       61. PLAINTIFF filed a timely EEOC Charge of Discrimination and Retaliation. Pursuant to

             the “work sharing agreement” between the TWC and the EEOC, the charge was investigated

             thereafter by the EEOC, therein dually filed with the TWC, EEOC Charge number 453-2022-01011.

             This Charge is attached herein as Exhibit “A.”

                       62. On or about March 16, 2023, the EEOC mailed a Notice of Right to File a Civil Action

             to PLAINTIFF, wherein PLAINTIFF was provided notice of her right to file civil action with

             respect to her Charge of Discrimination and Retaliation.

                       63. Accordingly, PLAINTIFF timely files this suit.

                       64. Plaintiff’s Notice of Right to File a Civil Action from the EEOC and correspondent

             TWC Notice of Right to Sue is attached herein and incorporated by reference as Exhibit “B.”

                       65. As such, all conditions precedent to the filing of this action have been fulfilled. To the

             extent any time limits have not been complied with, same are futile, have been waived, or are tolled

             on account of agreement and/or fraud; Defendants are estopped from asserting the same.

                                               E. CLAIMS FOR RELIEF
                                                     COUNT ONE
                                       (RACE Discrimination against DEFENDANTS)
                       66. Plaintiff re-alleges and incorporates by reference all preceding paragraphs of this

             Original Petition and all succeeding paragraphs of this Original Petition, as if fully set forth

             herein.

                       67. At all times set forth hereinafter, Defendants respectively are an “employer” and a

             “respondent” as defined by Texas Labor Code § 21.002. Defendants are subject to the

             provisions of Chapter 21 of the Texas Labor Code.




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                     68. Plaintiff is a Hispanic female who was subjected to racial discrimination by

             Defendants, in that she was treated disparately and suffered adverse actions by Defendants on

             account of her race (Hispanic) and was terminated ultimately by Defendants on account of her

             race.

                     69. DEFENDANTS discriminated and retaliated against PLAINTIFF because of her race,

             despite the fact PLAINTIFF was protected from such discrimination and retaliation by Chapter

             21 of the Texas Labor Code as described herein.

                     70. Defendants violated Chapter 21 by, inter alia, (a) creating a hostile discriminatory

             work environment (b) refusing and failing to provide PLAINTIFF with equal terms and

             conditions of employment, and other advantages and privileges of employment provided for non-

             HISPANIC employees; (c) terminating PLAINTIFF unlawfully under pretextual grounds via

             constructive discharge; (d) retaliating against PLAINTIFF for asserting her rights, and interfering

             or intimidating her from taking action regarding her opposition to discrimination;(e) terminating

             PLAINTIFF because of her race; and (f) failing to take prompt and equitable steps to remedy

             discrimination and retaliation.

                     71. As a direct and proximate result of the foregoing, PLAINTIFF was caused to suffer

             injury and resulting damages, for which she sues, including, but not limited to:

                            (a) mental/emotional anguish, inconvenience, physical anxiety, physical ailments,
                                loss of enjoyment of life, humiliation, and the like, past, and present;

                            (b) loss of earnings and future earning capacity, loss of employment, damage to
                                his career and to his professional and personal reputation, and employment
                                benefits, past and future prior to his reinstatement;

                            (c) Attorney’s fees and costs of court, inclusive of expert witness fees.

                     72. Defendants acted with malice and/or reckless indifference to the state-protected rights

             of PLAINTIFF, thus PLAINTIFF seeks punitive damages for this outrageous conduct.




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                                                    COUNT TWO
                                      (AGE Discrimination against DEFENDANTS)
                     73. Plaintiff re-alleges and incorporates by reference all preceding paragraphs of this

             Original Petition and all succeeding paragraphs of this Original Petition, as if fully set forth herein.

                     74. At all times set forth hereinafter, Defendants respectively are an “employer” and a

             “respondent” as defined by Texas Labor Code § 21.002. Defendants are subject to the provisions

             of Chapter 21 of the Texas Labor Code

                     75. Plaintiff is a Hispanic female over the age of forty (40) who was subjected to age

             discrimination by Defendants, in that she was treated disparately and suffered adverse actions by

             Defendants on account of her age and was terminated ultimately by Defendants on account of her

             age while identically and/or similarly situated employees under the age of forty (40) did not suffer

             the same hostility, discrimination and adverse treatment by Defendants.

                     76. DEFENDANTS discriminated and retaliated against PLAINTIFF because of her age,

             despite the fact PLAINTIFF was protected from such discrimination and retaliation by Chapter 21

             of the Texas Labor Code.

                     77. Defendants violated Chapter 21 by, inter alia, (a) creating a hostile discriminatory work

             environment (b) refusing and failing to provide PLAINTIFF with equal terms and conditions of

             employment, and other advantages and privileges of employment provided for employees under the

             age of forty (40); (c) terminating PLAINTIFF unlawfully under pretextual grounds; (d) retaliating against

             PLAINTIFF for asserting her rights, and interfering or intimidating her from taking action regarding her

             opposition to discrimination;(e) terminating PLAINTIFF because of her race; and (f) failing to take

             prompt and equitable steps to remedy discrimination and retaliation by Defendants.

                     78. As a direct and proximate result of the foregoing, PLAINTIFF was caused to suffer

             injury and resulting damages, for which she sues, including, but not limited to:




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                             (a) mental/emotional anguish, inconvenience, physical anxiety, physical ailments,
                                 loss of enjoyment of life, humiliation, and the like, past, and present;

                             (b) loss of earnings and future earning capacity, loss of employment, damage to
                                 his career and to his professional and personal reputation, and employment
                                 benefits, past and future prior to his reinstatement;

                             (c) Attorney’s fees and costs of court, inclusive of expert witness fees.

                     79. Defendants acted with malice and/or reckless indifference to the state-protected rights

             of PLAINTIFF, thus PLAINTIFF seeks punitive damages for this outrageous conduct.


                                                  COUNT THREE
                                         (RETALIATION against DEFENDANTS)
                     80. Plaintiff re-alleges and incorporates by reference all preceding paragraphs of this

             Original Petition and all succeeding paragraphs of this Original Petition, as if fully set forth herein.

                     81. At all times set forth hereinafter, Defendants respectively are an “employer” and a

             “respondent” as defined by Texas Labor Code § 21.002. Defendants are subject to the provisions

             of Chapter 21 of the Texas Labor Code.

                     82. Plaintiff is a Hispanic female who was subjected to racial and age discrimination by

             Defendants, in that she was treated disparately and suffered adverse actions by Defendants on

             account of her race (Hispanic) and her age (over the age of forty) and was terminated ultimately

             by Defendants on account of her race and age via constructive discharge.

                     83. DEFENDANTS were aware of PLAINTIFF’S race and age, and her opposition to

             discrimination on the basis of her race and age by DEFENDANTS in the course of his

             employment.

                     84. DEFENDANTS retaliated against PLAINTIFF for opposing this discrimination.

                     85. DEFENDANTS discriminated and retaliated against PLAINTIFF because of her race

             and age, when she opposed the same, Defendants ultimately retaliated against her despite the fact




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             PLAINTIFF was protected from such discrimination and retaliation by Chapter 21 of the Texas

             Labor Code.

                     86. Defendants violated Chapter 21 by, inter alia, (a) creating a hostile discriminatory work

             environment (b) refusing and failing to provide PLAINTIFF with equal terms and conditions of

             employment, and other advantages and privileges of employment provided for non-HISPANIC under

             the age of 40 employees; (c) terminating PLAINTIFF unlawfully via constructive discharge under pretextual

             grounds in retaliation for opposing the aforesaid discrimination; (d) retaliating against PLAINTIFF for

             asserting her rights, and interfering or intimidating her from taking action regarding her opposition to

             discrimination;(e) terminating PLAINTIFF because of her race and age and her opposition for

             discrimination in her workplace, and (f) failing to take prompt and equitable steps to remedy

             discrimination and retaliation.

                     87. As a direct and proximate result of the foregoing, PLAINTIFF was caused to suffer

             injury and resulting damages, for which she sues, including, but not limited to:

                             (a) mental/emotional anguish, inconvenience, physical anxiety, physical ailments,
                                 loss of enjoyment of life, humiliation, and the like, past, and present;

                             (b) loss of earnings and future earning capacity, loss of employment, damage to
                                 his career and to his professional and personal reputation, and employment
                                 benefits, past and future prior to his reinstatement;

                             (c) Attorney’s fees and costs of court, inclusive of expert witness fees.

                     88. Defendants acted with malice and/or reckless indifference to the state-protected rights

             of PLAINTIFF, thus PLAINTIFF seeks punitive damages for this outrageous conduct.

                                           COUNT FOUR
                   (ASSOCIATIONAL DISABILITY DISCRIMINATION against DEFENDANTS)

                     89. Plaintiff re-alleges and incorporates by reference all preceding paragraphs of this

             Original Petition and all succeeding paragraphs of this Original Petition, as if fully set forth herein.




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                     90. Plaintiff informed Defendants of the disability of her immediate family member,

             therein her son, who was suffering from a brain tumor which was rendered terminal and the need

             for Plaintiff to provide care for her son related to his illness.

                     91. Plaintiff requested accommodation to be allowed to take her son to his infusions and to

             his doctor’s visits.

                     92. Defendants refused to accommodate PLAINTIFF in this regard.

                     93. Title I of the ADA makes it unlawful for any employer with 15 or more employees

             (including a state or local government employer) to discriminate against a qualified applicant or

             employee because of a disability in any aspect of employment. In addition to protecting qualified

             applicants and employees with disabilities from employment discrimination, the “association”

             ADA provision protects applicants and employees from discrimination based on their relationship

             or association with an individual with a disability, whether or not the applicant or employee has

             a disability. 1

                     94. The association provision of the ADA prohibits employment discrimination against a

             person, whether or not he or she has a disability, because of his or her known relationship or

             association with a person with a known disability. As such, an employer is prohibited from making

             adverse employment decisions based on unfounded concerns about the known disability of a

             family member or anyone else with whom the applicant or employee has a relationship or

             association. Id.

                     95. An employer may not terminate or refuse to hire someone due to that person's known

             association with an individual with a disability. Id.




             1
               See Questions & Answers: Association Provision of the ADA | U.S. Equal Employment Opportunity Commission
             (eeoc.gov).




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                    96. An employer may not deny an employee any other benefit or privilege of employment

             that is available to others because of the disability of someone with whom the employee has a

             relationship or association. Id.

                    97. Though only qualified applicants and employees with disabilities are entitled to

             reasonable accommodation under the ADA, the ADA requires an employer avoid treating an

             employee differently than other employees because of his or her association with a person with a

             disability. As such, an employer may not discriminate against one employee who has the need for

             a reasonable accommodation related to the disability of his family member, while allowing such

             an accommodation for identically situated employees outside the first employee’s class. Id.

                    98. Defendants discriminated against Plaintiff when they refused to allow Plaintiff her

             requested accommodation while therein accommodating Plaintiff’s identically situated colleagues,

             while denying Plaintiff the ability to leave intermittently to take her terminally ill son to his

             infusions and doctor’s appointments. Additionally, Defendants discriminated against PLAINTIFF

             upon becoming aware of her need to care for her son, and ultimately constructively discharged

             PLAINTIFF after she requested a reasonable accommodation for associational disability and

             FMLA leave to attend to the same. All acts which are prohibited pursuant to the protections

             afforded to employees by the ADA.

                    99. Plaintiff asserts that her association with a disabled person was a/the motivating factor

             and consideration in Defendant’s mistreatment, abuse, discrimination, and termination of

             Plaintiff’s employment therefore violating THE AMERICANS WITH DISABILITY ACT.

                    100.    As a direct and proximate result of the foregoing, Plaintiff was caused to suffer

             injury and resulting damages, for which he sues, including, but not limited to:




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                             (a) mental/emotional anguish, inconvenience, physical anxiety, physical pain and
                                 discomfort, physical ailments, loss of enjoyment of life, humiliation, and the
                                 like, past, and future.

                             (b) back pay, front pay, loss of earnings and earning capacity, loss of
                                 employment, damage to his career and to his professional and personal
                                 reputation, and employment benefits, past and future.

                     101.    Defendant acted with malice or reckless indifference to the state-protected rights of
             Plaintiff, and Plaintiff seeks punitive damages for this outrageous conduct.

                     102.    Plaintiff is now suffering and will continue to suffer irreparable injury from
             Defendant’s policies, practices, customs, and usages set forth herein, thus he requests declaratory
             and injunctive relief as a means of securing relief for such wrongs.

                                                COUNT FIVE
                                    (FMLA RETALIATION against DEFENDANTS)

                     103.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs of this

             Original Petition and all succeeding paragraphs of this Original Petition, as if fully set forth herein.

                     104.    Plaintiff informed Defendants of her disabled immediate family member, therein

             her son suffering from a terminal brain tumor, and the fact she needed to attend to her son,

             accompanying him to his infusions and doctor’s visits, as a result of his disability.

                     105.    Plaintiff solely required intermittent FMLA leave, which she was entitled to, in

             order to attend to her terminally ill son’s needs.

                     106.    At no time did DEFENDANTS allow PLAINTIFF to utilize FMLA LEAVE to care

             for her son.

                     107.    In fact, Defendants did not afford PLAINTIFF such leave, did not explore the

             possibility of such leave, and instead, terminated Plaintiff from her employment via constructive

             discharge upon becoming aware of her need for such leave.




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                     108.    Plaintiff will establish that her expression of a need for FMLA leave to care for her

             terminally ill son was a/the motivating factor in Defendants’ decision to terminate her via

             constructive discharge, whereas the “motivating factor” is simply one reason Defendants took the

             action they did, not necessarily the only reason.

                     109.    Defendants’ refusal to grant Plaintiff FMLA leave to care for terminally ill son

             motivated Defendants to terminate her in contradiction to the Family Medical Leave Act.

                     110.    As a direct and proximate result of the foregoing, Plaintiff was caused to suffer
             injury and resulting damages, for which he sues, including, but not limited to:

                             (a) mental/emotional anguish, inconvenience, physical anxiety, physical pain and
                                 discomfort, physical ailments, loss of enjoyment of life, humiliation, and the
                                 like, past, and future.

                             (b) back pay, front pay, loss of earnings and earning capacity, loss of
                                 employment, damage to his career and to his professional and personal
                                 reputation, and employment benefits, past and future.

                     111.    Defendants acted with malice or reckless indifference to the state-protected rights
             of Plaintiff, and Plaintiff seeks punitive damages for this outrageous conduct.

                     112.    Plaintiff is now suffering and will continue to suffer irreparable injury from

             Defendants’ policies, practices, customs, and usages set forth herein, thus he requests declaratory

             and injunctive relief as a means of securing relief for such wrongs.




                                                        F. DAMAGES

                     113.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs of this

             Original Petition and all succeeding paragraphs of this Original Petition, as if fully set forth herein.

                     114.    By this reference, PLAINTIFF hereby incorporates all preceding paragraphs of this

             Petition as if they were set forth within this cause of action.




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                     115.    PLAINTIFF has suffered injury and resulting damages, for which she is suing, as

             detailed herein in this PETITION.

                     116.    Additionally, PLAINTIFF asks for a declaration that his rights under Chapter 21 of

             the Texas Labor Code were violated;

                          a. Granting of a permanent injunction against Defendants , enjoining Defendants

                             and their officers, successors, assigns and all persons in active concert or

                             participation with it, from engaging in any further practice which discriminates

                             against any employee on the basis of such employees race, age, and opposition to

                             discrimination;

                          b. And any other relief the Court deems just and proper.

                     117.    Defendant acted with malice or reckless indifference to the state-protected rights

             of Plaintiff and Plaintiff seeks punitive damages for this outrageous conduct.

                                                  G. DEMAND FOR JURY

                     118.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs of this

             Original Petition and all succeeding paragraphs of this Original Petition, as if fully set forth herein.

                     119.    By this reference, PLAINTIFF hereby incorporates all preceding paragraphs of this

             Petition as if they were set forth within this cause of action.

                     120.    Plaintiff demands a jury trial at this time.

                                            H. REQUEST FOR DISCLOSURE

                     121.    Plaintiff re-alleges and incorporates by reference all preceding paragraphs of this

             Original Petition and all succeeding paragraphs of this Original Petition, as if fully set forth herein.

                     122.    By this reference, PLAINTIFF hereby incorporates all preceding paragraphs of this

             Petition as if they were set forth within this cause of action.




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                     123.    Under Texas Rule of Civil Procedure 194, Plaintiff requests that DEFENDANTS

             disclose, within the requisite time afforded by the Texas Rules of Civil Procedure the information

             or material described in Rule 194.

                                                        I. PRAYER

                     WHEREFORE PREMISES CONSIDERED, Plaintiff respectively prays that Defendants

             be cited to appear and answer herein, and that upon final hearing hereof, the Court grant Plaintiff

             the relief cited herein.




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                       EXHIBIT
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                                                 453-2022-01011




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      EEOC Form 5 (11/09)

                            CHARGE OF DISCRIMINATION
                This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
                       Statemenl and other informalion before completing this form.
                                                                                                            □(Kl
                                                                                                        Charge Presented To:
                                                                                                                   FEPA
                                                                                                                   EEOC
                                                                                                                                  Agency(ies) Charge No(s):



                                               Texas Workforce Commission Civil Rights Division                                                 and EEOC
                                                                            State or local Agency, if any
     THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
       discussing the post construction set up. They walked in front of my office and Kristi asked Rene who is going to be in that office,
       (pointing to my office). They both knew] was in the office and could hear them because he whispered to the CEO "that's Doris's."
       She then said, "well you need to get rid of her and you'll have the last two offices available to work with." On or about February 3'',
       2022, Luis Chavarria stated that he had several meetings with Kristi and she told him to tell me that Chavarria would be taking over
       NEO and internal trainings from me. He informed me that I was now on his team and he was my superior. He said that his boss,
       Kristi, told him he could do whatever he wanted to do with training and that l was to support all his efforts. He also stated that he
       wanted me in all his NEO courses to watch him do the trainings. When I told him no I would not, I still had to manage the Relias
       system, collaborate and do audits he got angry and would come to my office to yell at me, berate me, and harass me. My report,
       Jessica Gurrola, was then removed from my supervision and moved to Chavarria shortly thereafter. Kristi then sent Rene Hurtado to
       inform me that she was demoting me, stripping me of my title, removing NEO and all of internal training duties from me and giving
       everything to my younger (under the age of 40) male coworker, Luis Chavarria. At that point, Luis Chavarria had 6 years oftraining
       experience by comparison to my 20 years of training experience. He also did not know any ofthe training standards, rules,
       regulations of the agency and had not represented the agency during audits and passed as I had. He was also not certified like I am.
       I believe I was demoted, harassed, humiliated, my duties and title were stripped due to my outcry opposing the CEO's
       discrimination in the workplace. During this time my son struggled with a terminal illness. Kristi did not permit me to take needed
       FMLA leave to take him to his infusion and doctor appointments and further discriminated and retaliated against me due to my
       son's terminal disability and medical condition. On or about February 28 "', 20221 advised Iris (head of HR) that I felt I was being
       discriminated and retaliated against and the CEO was clearly pushing me out and eliminating my position. Iris said she would try to
       help me, but did not. On or about March 8'', 2022 Iris came to speak to me to inform me my office (which I needed) was being
       taken from me and given to my replacement. Jris admitted knowing I needed the office space for collaboration meetings and
       trainings; however, proceeded to allow the CEO to strip me of my office. On or about March 21st· 2022 Iris was walking Kristi
       through the HR offices in the morning (I had yet to leave my office at this point) and Kristi told Iris that I should be thrown to the
       floor and shouldn't be in any office. She then stated: "get rid ofher ifyou want." Iris realized then that I was there and could hear
       them talking about me, she then said to me, "let's go back to my office to talk." On or about March 21", 2022, after Kristi left Iris's
       office, Iris came to my office and told me that Kristi wanted me out ofmy office immediately. She wanted to give it to an employee
       that had only been there for I week at that point, and who also was younger than me (younger than 40 years ofage). This employee
       already had an office space with another fellow HR employee with whom he worked on common projects with, thus he did not need
       my office. It was clear the stripping ofmy office was another retaliatory act by the CEO and my employer to punish me for
       opposing discrimination in the workplace. On March 24'h.2022, around 3pm, Kristi came in yelling at Iris demanding my colleague
       Georgina Hernandez be terminated from her employment. Georgina Hernandez also opposed discrimination, was over the age of 40,
       is female and Mexican American. Thereafter, Georgina Hernandez was fired by the CEO and Iris. On or about Monday, March 30,
       2022, 08:00 am, Maria Mireles from IT informed me my entire work set up was moved out ofmy office space. By the time I came
       in at 09:00am, my computer and screens were being moved out of my office space and I was told by Iris to move the rest of m y
       stuff to a communal area. On or about April 6, 2022, at a PMAB training out of town, Luis stated that Kristi told him that he was
       taking over all my job duties ultimately and my only role now was to train him how to perform my job. He stated he would be
       changing several processes and procedures because Kristi, his boss. said he could do whatever he wanted with my training division.
       The hostile work environment, continual harassment, and retaliatory acts by my employer at this point caused me great stress which
       have resulted in lasting medical issues and emotional distress. I ultimately was constructively discharged from my employment as a
       result ofthe discrimination I opposed and the retaliation I suffered as a result of opposing discrimination. I was replaced by a male
       employee under the age of 40 with no dependents with disabilities. I believe that I have been discriminated against and subjected to
       a hostile work environment and retaliation because of my gender (female), my age (over the age of 40), and my association with a
       dependent with disabilities and a terminal illness. I was terminated from my employment in retaliation for reporting, opposing, and
       complaining about this discrimination as well as FMLA interference, all of which are in violation ofTitle Vil of the Civil Rights Act of
       1964, as amended, the Texas Labor Code, Ch. 21.051 and 21.055 (formerly the Texas Commission on Human Rights Act), as
       amended, and the ADA, Rehabilitation Act, 29 C.F.R. Part 1630 which precludes employers from imposing associational disability
       discrimination on employees with dependents suffering from illness and disabilities.
     I want this charge filed with both the EEOC and the State or local Agency, if any. I
     will advise the agencies if I change my address or phone number and I will
     cooperate fully with them in the processing of my charge in accordance with their
     I declare under penalty of perjury that the above is true and correct.
                                                                                                   GNATURE OF COMPLAINANT


                                                                                                 SUBSCRIBED AND SWORN TO BEFOR
                                                                                                 (month, day, year)

                 Date                                Charging Party Signature                    Ju NL ,        c::.&_ 2.0 2.'L
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                        U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                                                 El Paso Area Office
                                                                                                       100 N. Stanton Street, Suite 600
                                                                                                                   El Paso, TX 79901
                                                                                                                       (800) 669-4000
                                                                                                              Website: www.eeoc.gov


                               DETERMINATION AND NOTICE OF RIGHTS
                                    (This Notice replaces EEOC FORMS 161 & 161-A)

                                                    Issued On: 03/16/2023
             To: Doris Davis
                 11812 Daplin Way
                 El Paso, TX 79934

             Charge No: 453-2022-01011
             EEOC Representative and email:       Jessie Moreno
                                                  Senior Investigator
                                                  jessie.moreno@eeoc.gov


                                            DETERMINATION OF CHARGE

             The EEOC issues the following determination: The EEOC will not proceed further with its
             investigation and makes no determination about whether further investigation would establish
             violations of the statute. This does not mean the claims have no merit. This determination does not
             certify that the respondent is in compliance with the statutes. The EEOC makes no finding as to
             the merits of any other issues that might be construed as having been raised by this charge.

                                           NOTICE OF YOUR RIGHT TO SUE

             This is official notice from the EEOC of the dismissal of your charge and of your right to sue. If
             you choose to file a lawsuit against the respondent(s) on this charge under federal law in federal
             or state court, your lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice.
             Receipt generally occurs on the date that you (or your representative) view this document. You
             should keep a record of the date you received this notice. Your right to sue based on this charge
             will be lost if you do not file a lawsuit in court within 90 days. (The time limit for filing a lawsuit
             based on a claim under state law may be different.)
             If you file a lawsuit based on this charge, please sign-in to the EEOC Public Portal and upload the
             court complaint to charge 453-2022-01011.

                                                            On behalf of the Commission,

                                                            Digitally Signed By: Travis M. Nicholson
                                                            03/16/2023
                                                            Travis M. Nicholson
                                                            District Director




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             Cc:
             Michael R Wyatt
             EHN
             201 E. Main Dr., Ste. 600
             El Paso, TX 79901

             Iris Sandoval
             201 E. Main St., Suite 600
             El Paso, TX 79901

             Soraya Yanar Hanshew
             632 Moondale Dr.
             El Paso, TX 79912


             Please retain this notice for your records.




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  DocuSign Envelope ID: DAFFC917-1067-4B26-8A7A-A68FECECA970
                                Case 3:23-cv-00287-KC Document 1-3 Filed 08/04/23 Page 27 of 27 Bryan Daniel, Chairman
                                                                                                                                                                   Commissioner Representing
                                                                                                                                                                   the Public

                                                                                                                                                                   Aaron Demerson
                                                                                                                                                                   Commissioner Representing
                                                                                                                                                                   Employers
                  June 8, 2023
                                                                                                                                                                   Alberto Treviño, III
                                                                                                                                                                   Commissioner Representing
                             NOTICE OF COMPLAINANT’S RIGHT TO FILE CIVIL ACTION                                                                                    Labor

                                                                                                                                                                   Edward Serna
                                                                                                                                                                   Executive Director
                  Doris Davis
                  c/o Soraya Y.Hanshew
                  The Hanshew Law Firm, PLLC
                  632 Moondale Dr.
                  El Paso, TX 79912

                  Re:         Doris Davis v. Emergence Health Network -MHMR
                              EEOC Complaint # 453-2022-01011

                  Dear Doris Davis:

                  The above-referenced case was processed by the United States Equal Employment Opportunity Commission
                  or a local agency. Pursuant to Sections 21.252 and 21.254 of the Texas Labor Code, this notice is to advise
                  you of your right to bring a private civil action in state court in the above-referenced case. YOU HAVE SIXTY
                  (60) DAYS FROM THE RECEIPT OF THIS NOTICE TO FILE THIS CIVIL ACTION.

                  If your case has been successfully resolved by the U. S. Equal Employment Opportunity Commission or
                  another agency through a voluntary settlement or conciliation agreement, you may be prohibited by the terms
                  of such an agreement from filing a private civil action in state court pursuant to the Texas Commission on
                  Human Rights Act, as amended.

                  The United States Supreme Court has held in Kremer v. Chemical Construction Corporation, 456 U.S. 461
                  (1982), that a federal district court must generally dismiss a Title VII action involving the same parties and
                  raising the same issues as those raised in a prior state court action under Chapter 21 of the Texas Labor Code.
                  Therefore, filing a lawsuit in state court based on the issuance of this notice of right to file a civil action may
                  prevent you from filing a lawsuit in federal court based on Title VII of the Civil Rights Act of 1964, as
                  amended, 42 U.S.C. 2000e - et seq.

                  Sincerely,




                  Bryan D. Snoddy, Director
                  Civil Rights Division


                                                    RETAIN ENVELOPE TO VERIFY DATE RECEIVED

                  Copy to:
                  Emergence Health Network -MHMR
                  c/o: Michael Wyatt
                  EHN - Legal Counsel
                  201 E. Main Dr., Ste. 600
                  El Paso, TX 79901
      101 E. 15th Street, Room 154 • Austin, Texas 78778-0001 • (512) 463-2642 (T) • (512) 463-2643 (F) • Relay Texas: 800-735-2989 (TDD) 800-735-2988 (Voice) • www.texasworkforce.org
                                                                             Equal Opportunity Employer / Program




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